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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 1 of 22

 

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AT SEA
CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
By DEPUTY

Magistrate Judge Mary Alice Theiler

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

CAMERON BRANDON SHEA,

KALEB J. COLE,

TAYLOR ASHLEY PARKER-DIPEPPE,
JOHNNY ROMAN GARZA,

Defendants.

 

 

 

 

CASENO. MJ 20-088
COMPLAINT for VIOLATION

Title 18, U.S.C. Section 371

BEFORE, Mary Alice Theiler, United States Magistrate Judge, U. S. Courthouse,

Seattle, Washington.

The undersigned complainant being duly sworn states:

COUNT 1
(Conspiracy to Mail Threatening
Communications and Commit Cyberstalking)

Beginning at a time unknown, but not later than November 2019, and continuing

until on or about February 5, 2020, at King County, within the Western District of
Washington, and elsewhere, CAMERON BRANDON SHEA, KALEB J. COLE,
TAYLOR ASHLEY PARKER-DIPEPPE, and JOHNNY ROMAN GARZA, along with

COMPLAINT/SHEA etal. - 1
USAO# 2018R00225

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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 2 of 22

others known and unknown, did knowingly and willfully conspire, combine, confederate,
and agree to commit offenses against the United States, to wit: Mailing Threating
Communications, in violation of Title 18, United States Code, Section 876(c), and
Stalking, in violation of title 18, United States Code, Section 2261A.

A. Object of the Conspiracy

1, The object of the conspiracy was for CAMERON BRANDON SHEA,
KALEB J. COLE, TAYLOR ASHLEY PARKER-DIPEPPE, and JOHNNY ROMAN
GARZA to threaten journalists and activists, particularly Jews and other minorities, with
the intent to cause fear of bodily harm, harass, intimidate, and retaliate against
unfavorable reporting.

B. Manner and Means of the Conspiracy

2. It was part of the conspiracy that KALEB J. COLE and CAMERON
BRANDON SHEA helped to create threatening posters, which included a poster of a
person in a skull mask holding a Molotov cocktail in front of a house, another depicting
people in skull masks holding guns with the message “These People Have Names and
Addresses,” and another littered with swastikas with the message, “We Know Where You
Live.” All three posters contained a place for the recipient’s personal information,
including their home address.

3. It was part of the conspiracy that CAMERON BRANDON SHEA, KALEB
J. COLE, TAYLOR ASHLEY PARKER-DIPEPPE, and JOHNNY ROMAN GARZA
conducted research online to identify journalists and activists to threaten, specifically
targeting Jews and other minorities.

4, It was part of the conspiracy that CAMERON BRANDON SHEA, KALEB
J. COLE, TAYLOR ASHLEY PARKER-DIPEPPE, and JOHNNY ROMAN GARZA
compiled the home addresses and other personal information for the above-mentioned
journalists and activists, using online sources.

5. It was part of the conspiracy that CAMERON BRANDON SHEA, KALEB
J. COLE, TAYLOR ASHLEY PARKER-DIPEPPE, and JOHNNY ROMAN GARZA

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 3 of 22

planned and plotted to threaten the above-mentioned journalists and activists through
online communications among themselves and others.

6. It was part of the conspiracy that CAMERON BRANDON SHEA, KALEB
J. COLE, TAYLOR ASHLEY PARKER-DIPEPPE, and JOHNNY ROMAN GARZA
agreed to mail the threatening posters to the journalists and activists, and to post the
posters on their residences.

7. It was part of the conspiracy that CAMERON BRANDON SHEA, KALEB
J. COLE, TAYLOR ASHLEY PARKER-DIPEPPE, and JOHNNY ROMAN GARZA
took steps to hide and conceal their actions, including using an encrypted chat service and
wearing disguises during the operation.

C. Overt Acts

8. During and in furtherance of the conspiracy, at King County, within the
Western District of Washington, and elsewhere, one or more of the conspirators
committed one or more of the following overt acts, among others:

a. In December 2019, KALEB J. COLE helped create a collection of
threatening posters that were designed to threaten bodily harm, intimidate, harass, and
retaliate against reporters and activists, particularly Jews and other minorities.

b. On or about January 25, 2020, CAMERON BRANDON SHEA
purchased stamps and packaging tape, and mailed threatening posters to a reporter and
two individuals associated with the Anti-Defamation League.

c. On January 25, 2020, TAYLOR ASHLEY PARKER-DIPEPPE
posted a threatening poster on the residence that he believed belonged to a journalist.

d.  Onor about January 25, 2020, JOHNNY ROMAN GARZA and
another individual affixed a threatening poster to the home of an editor of a local Jewish
publication.

All in violation of Title 18, United States Code, Section 371.

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 4 of 22

And the complainant states that this Complaint is based on the following
information:

I, Michael Stults, being first duly sworn on oath, depose and say:

INTRODUCTION

1. I am a Special Agent (SA) with the FBI, currently assigned to investigate
domestic terrorism in the Seattle Field Office and have been so employed for two years.
My experience as an FBI Agent includes the investigation of cases where individuals
frequently utilize computers and the Internet to coordinate and facilitate various crimes. I
have received training and gained experience in interviewing and interrogation
techniques, arrest procedures, search warrant applications, the execution of searches and
seizures, computer evidence identification, computer evidence seizure and processing,
and various other criminal laws and procedures. I have personally participated in the
execution of search warrants involving the search and seizure of computer equipment. I
have received advanced training on network and information security, and on the
methods and tactics of open source intelligence gathering.

2. The facts set forth in this Affidavit are based on my own personal
knowledge; knowledge obtained from other individuals during my participation in this
investigation, including other law enforcement personnel; review of documents and
records related to this investigation; communications with others who have personal
knowledge of the events and circumstances described herein; and information gained
through my training and experience. Because this Affidavit is submitted for the limited
purpose of establishing probable cause in support of a criminal complaint, it does not set
forth each and every fact that I or others have learned during the course of this
investigation.

SUMMARY OF PROBABLE CAUSE
A. Overview
3. CAMERON BRANDON SHEA is a high-level member and primary

recruiter for the Atomwaffen Division (AWD). AWD came to the attention of law

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 5 of 22

enforcement on or about May 12, 2017, when D.A. was arrested for murdering two of his
roommates near Tampa, Florida. D.A. had been a member of AWD, as were his
roommates. After his arrest, D.A. admitted to the murders of his two roommates and told
investigators he had committed the murders after he had converted to Islam and that the
murders were his attempt at keeping the members of AWD from committing planned acts
of terror related to the group’s ideology. D.A. claimed AWD had plans to use explosives
to damage infrastructure and to commit acts of violence.

4, After D.A.’s arrest, another roommate, B.R., who was the leader of AWD,
was encountered by law enforcement at the residence unharmed. In the residence, law
enforcement found bomb-making precursor chemicals and hexamethylene triperoxide
diamine, a high explosive chemical. B.R. admitted the chemicals were his and, on or
about May 20, 2017, B.R. was charged in a federal criminal complaint in Florida with a
violation of Title 26, United States Code, Section 5861(d) (possession of an unregistered
destructive device) and Title 18, United States Code, Section 842(j) (unlawful storage of
explosive material). In addition to the explosive material found inside the residence, law
enforcement discovered Nazi paraphernalia, texts popular with neo-Nazis including
Adolf Hitler’s Mein Kampf and The Turner Diaries, and, among other things, a framed
image of the Oklahoma City bomber, Timothy McVeigh, featured prominently in B.R.’s
bedroom.

5. Following the arrest of B.R., AWD selected J.D., a resident of Houston,
Texas, and KALEB J. COLE, aka Khimaere or Khim, formerly a resident of Arlington,
Washington, to co-lead AWD in B.R.’s absence. Members of AWD also formed a
relationship with a Denver, Colorado resident who is the writer of the book, “Siege,”
which serves as the basis for AWD ideology. The book, which is a collection of neo-
Nazi newsletters authored by the Colorado resident, advocates for the leaderless
resistance and lone offender strategies as a viable means to accelerate the collapse of the
United States Government, which members of the AWD believe to be controlled by Jews

and other minorities.

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 6 of 22

6. On January 25, 2018, AWD hosted a “Death Valley Hate Camp” in Las
Vegas, Nevada, where members trained in hand-to-hand combat, firearms, and created
neo-Nazi propaganda videos and pictures of themselves posing with weapons. COLE
coordinated the camp, beginning planning in early October 2017. COLE traveled from
Washington State to Las Vegas for the hate camp with another AWD member, A.B. The
two possessed concealed pistol licenses and transported numerous firearms and cases of
ammunition to the event. A California AWD member was expected to be at this hate
camp, but could not attend due to being arrested for the murder of an openly gay Jewish
college student.

7. Prior to YouTube removing their pages, AWD posted propaganda videos
on two channels called “AWDTV” and “Atomwaffen Division.” One of those videos
titled “Zealous Operation,” depicts a hate camp at Devil’s Tower, an abandoned cement
factory in Concrete, Washington. Approximately half a dozen AWD members can be
seen wearing military style clothing, face masks, and carrying an assortment of long
guns, while conducting paramilitary style training and shooting at a gravel pit attached to
Devil’s Tower. At the beginning of the video participants state, “GAS THE KIKES!
RACE WAR NOW?” while the statement is spelled out at the bottom of the screen.

8. On February 23, 2018, The Seattle Times published an article discussing
AWD, and identifying several of its members nationwide, to include some in Washington
State. Photographs, along with personally identifiable information, including home and
work addresses, were included in the article. The article also discussed the application
Discord that members used to facilitate communication. According to the article, several
thousand pages of Discord chat logs between members were hacked and leaked to the
public. After having been identified, several of the AWD members, to include those in
leadership positions, deleted their online profiles, quit their jobs, changed residences, and
moved to the Swiss-based, encrypted electronic communication service Wire, in an
attempt to go dark and avoid detection by law enforcement. COLE was one of the AWD

members identified in this article, but SHEA’s involvement in the group was not

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 7 of 22

reported.

9. On or about September 16, 2018, COLE posted a recorded leadership
message to AWD members via Wire. In the recording, COLE said, “The matter of these
nosy reporters coming into our daily lives, where we work, where we live, where we go in
our spare time. We must simply approach them with nothing but pure aggression. We
cannot let them think that they can just... that that it’s safe for them to just come up to us,
and fuck with us. We cannot let them think they are safe in our very presence alone....”
The statement was in response to an incident where a journalist confronted an AWD
member at a music festival in Texas for the “Documenting Hate” news series.

10. In addition to COLE, investigation into the group had identified Krokodil
as a Washington based member who was the primary recruiter for AWD. Krokodil was
also active in other online forums such as Gab and FascistForge.com, where he espoused
racial violence, and stated how he and other members could “go full McVeigh and start
dispatching political and economic targets today, helping build the social tension that
will accelerate the collapse of the system.” Krokodil had also been planning to attend a
November 2018 AWD Hate Camp being held in western Washington State, but was
ultimately unable to attend due to medical reasons. Investigation later positively
identified the user of the Krokodil moniker was SHEA based on physical surveillance,
video recordings, and records demonstrating ownership of his phone number.

11, On July 9, 2019, COLE was interviewed by the FBI when he was deported
from Canada to the United States. During the interview, COLE blamed the media for
sensationalizing information about AWD and expressed dismay as to why he was
targeted by the media in their stories, and lamented how he was never approached in an
attempt to collect accurate information. COLE felt the media’s reporting of AWD being
a threat to the public was “internet nonsense.”

12. In August of 2019, leadership members of AWD attended a “Nuclear
Congress” in Las Vegas, Nevada, where members gave presentations, discussed recent

events, challenges, plans going forward, and operational security. SHEA discussed the

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 8 of 22

importance of keeping identity protected, and how the media continues to be a challenge
to AWD.

13. On September 26, 2019, COLE was served with an Extreme Risk
Protection Order (ERPO) by the Seattle Police Department (SPD). SPD and Arlington
Police Department officers seized nine firearms in COLE’s possession, as well as a
number of unfinished lower rifle receivers, capable of being milled into functional rifle
components with the equipment COLE owned. In the wake of the ERPO service, several
news outlets nationwide covered the event. SHEA, COLE, and other AWD members
discussed media coverage of the event, with one member suggesting to “hit back...
embarrass the enemy on their own front.” COLE then left Washington State and
resettled in Texas.

14. On November 4, 2019, COLE and A.B. were stopped by law enforcement
for speeding in Post, Texas while on their way to meet with an AWD member, near
Houston, Texas. A.B. was subsequently arrested for 18 USC 922 (g)(3) (Possession of a
Firearm by an Unlawful User of a Controlled Substance). Law enforcement seized four
firearms and approximately 2000 rounds of ammunition. COLE continued to the
Houston area to meet with the AWD member.

B. Operation Erste Saiule

1. The Planning

15. In or about November 2019, SHEA, using the moniker Krokodil,
participated in a private Wire chat group titled, Operation Erste Sdule.! SHEA invited
coconspirators to this chat group to collaborate and coordinate an effort to deliver
threatening messages to journalists’ homes and media buildings. SHEA described the
Operation in a message to the chat group: “We ‘re coordinating this nation wide

Operation called Operation Erste Sdule, named after the first pillar of stat{[e] power,

 

' Based on publicly available translation services, “Erste Sdule” translates from German

to English as “First Pillar.”
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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 9 of 22

AKA the media. We will be postering journalists houses and media buildings to send a
clear message that we too have leverage over them... The goal, of course, is to erode
the media/states air of legitimacy by showing people that they have names and addresses,
and hopefully embolden others to act as well.”

16. Other participants in the Operation Erste Saule chat group included COLE

(then based in the Houston, Texas area who used Wire name “UPulf dd gyda”); an

individual in the Cleveland, Ohio area who used Wire name “14ALG88”; TAYLOR
ASHLEY PARKER-DIPEPPE, an individual who lives in Florida and used the Wire
name “Azazel”; an individual in California who used Wire name “OldScratch”;
JOHNNY ROMAN GARZA, an individual in the Phoenix, Arizona area who used the
Wire name “Roman”; an individual in Florida who used the Wire name “Lazarus”; an
unidentified individual believed to be in Oregon using Wire name that appears as
“KIKIKIKIKI?; an individual in South Carolina who used the Wire name
“Swissdiscipline”; and others.

17. Based on a review of the group’s Wire chats, COLE and SHEA were the
primary organizers for Operation Erste Sdule. COLE had access to the entire target list,
helped to develop threatening posters to leave at the victims’ homes, and made
suggestions to Operation Erste Séule coconspirators on who to target, how to find
people’s home addresses, and, among other things, how to film the Operation when it
happened. SHEA, in addition to announcing the Operation, coordinated its various
stages, including address collection, poster creation, and ultimate execution.

18. As part of Operation Erste Saule, each participant was directed to identify,
research, and locate journalists in their area. “OldScratch” recommended using the
website https://www.spj.org/fdb-list.asp to pick targets; that website is for the Society of
Professional Journalists and contains a list of journalists and their contact information.
“Lazarus” reported that he had three targets, and one was Jewish. “14ALG88” advised
that he was targeting three Jews. GARZA said he had found “a leader of an ‘association

of black journalists”’ in his state. SHEA stated that the identification of these targets was

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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 10 of 22

“Excellent work!” and “Outstanding.” Similarly, COLE said “NICE WORK” when he
learned that “14ALG88” had found the addresses for three Jewish journalists.

19. Onor about December 11, 2019, during a discussion to coordinate
Operation Erste Saule, SHEA explained that he wanted to coordinate the Operation on
the same night so journalists would be caught off guard, and to accomplish an effective
“show of force, demonstrating we are capable of massive coordination.” GARZA said
that the intended impact of the coordinated Operation was to “have them all wake up one
morning and find themselves terrorized by targeted propaganda.” COLE also suggested
buying rag dolls and knives so that participants could leave a doll knifed through the head
at their target locations.

20. Onor about December 11, 2019, during a Wire discussion to coordinate
Operation Erste SAule, COLE reminded the coconspirators to film their execution of the
Operation: “so when you guys film clips for this project: Be sure to film your clips
horizontally (landscape), not vertical (portrait).”

21. Onor about December 11, 2019, during a Wire discussion to coordinate
Operation Erste Séule, COLE told his coconspirators that the group was working on
getting more addresses and the posters. COLE suggested that his coconspirators conduct
reconnaissance of their victims’ addresses and suggested searching their addresses in
Google maps. COLE told his coconspirators to use, “proper electronic opsec measures,”
which I believe describes an effort to anonymize or privatize online actions to obfuscate
activity and avoid law-enforcement detection.

22. Onor about December 18, 2019, during a Wire discussion to coordinate
Operation Erste Saule, the coconspirators discussed how to print the propaganda posters.
“14ALG88” said that he may have trouble printing the posters at the library and COLE
told him to consider buying a cheap printer on Craigslist. SHEA added that printers cost
as little as $20 or $40. GARZA emphasized that, “/t/his Operation does deserve a
decent printer.” During this conversation about printing the threatening posters, COLE

cautioned everyone to “be sure to ONLY print in black and white” to avoid leaving

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Case 2:20-mj-0O0088-MAT Document1 Filed 02/25/20 Page 11 of 22

evidence behind. COLE explained: “make sure everything is printed in black and white,
so metadata won't show up (the tiny yellow dots that indicate information about the
printer.”

23. Later, “Old Scratch” told the Wire group that one of his targets was very far
from him and that he was considering mailing the threatening posters, “if that’s
acceptable.” GARZA added that his targets were also far away and, in an apparent
reference to the infamous Unabomber, that the “mail idea should not be wasted...
Unapropagandist.” SHEA emphasized operational.security to anyone who decided to
mail the threatening posters in order to avoid detection by the FBI. Specifically, SHEA
told his coconspirators to “buy your stamps in another town with cash while wearing a
disguise lolf.] And utilize a mailbox with no cameras nearby, post office = big no no[.]
And wear medical gloves when handling all materials, make sure both the destination
and return address (if you’re dumb enough to add one) are printed on paper and cut out
+ taped onto envelope, no hand writing allowed.; when sealing the envelope, use a q-tip
dipped in water instead of your tongue, unless you want the FBI to have your DNA.”

24. Onor about December 25, 2019, during a Wire discussion to coordinate
Operation Erste Saule, COLE explained that he was going to distribute the threatening
posters via “Guerrilla Mail” with the subject line, “prop-run.” Guerrilla Mail is an

electronic communication service accessible via internet-connected devices that offers

|| temporary, disposable e-mail accounts. On or about December 26, 2019, COLE

confirmed via Wire that everyone involved in the Operation had received their
propaganda posters. Around the same time, PARKER-DIPEPPE confirmed that he and
“Lazarus” were working together, with “Lazarus” as the leader and PARKER-DIPEPPE
as the “second.” Then, GARZA asked when they were going to execute the Operation.
Over the next week, SHEA, COLE, “Lazarus,” GARZA, PARKER-DIPEPPE, “Old
Scratch”, “XIKIXIKIX,” and others continued to coordinate a date to execute Operation
Erste Saule. Ultimately, the participants agreed to carry out the Operation on January 25,
2020.

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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 12 of 22

25. On or about December 27, 2019, GARZA told the group via Wire that he
was, “scoping my places on maps right now.” That prompted a conversation among the
coconspirators about avoiding detection when executing the Operation. GARZA
suggested using a disguise to blend into the neighborhood, such as wearing construction
gear or posing as a “mail deliverer,” or to execute the Operation at night. As for targets
in gated communities, GARZA suggested “check{ing] it out irl [in real life] or on the
maps, you should be able to spot mounted cameras. If they aren’t around the gate then its
almost no big deal to find a wall to hop.” SHEA added that he planned to use a bicycle
instead of his car to approach his targets in order “to avoid license plate captures.”
During a later chat, SHEA warned his coconspirators to be careful and look for any
security cameras, and PARKER-DIPEPPE advised, “Be very cautious of the surrounding
and use google maps if possible to search around.”

26. Onor about January 6, 2020, during a Wire discussion to coordinate
Operation Erste Sdule, the coconspirators again coordinated the Operation and exchanged
opinions about whether to conduct the Operation entirely via the mail, rather than in
person. Ultimately, the coconspirators decided to stay with “boots on the ground” at
some locations, while mailing the threatening posters to the riskier target locations, as
shown in the below exchange:

“Lazarus”: Hm Well it’s less threatening if we just mail them.
PARKER-DIPEPPE: Honestly not a bad idea but I like the dangerous side more

“Lazarus”: But I do see the whole safety thing[.] I say, the night of
posters before we put up any we check the house for security
and etc, if the house has to much security we mail them but if
it doesn’t have a lot and we can get by with our masks then

we put the posters up

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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 13 of 22

SHEA:

“Lazarus”:

What I don’t want happening is one of you boys being

caught, that’s my main concern

We know, but you also have to understand we all know what
we signed up for[.] So I say we go threw with the plan but ifa

house has to much security we mail that poster to that house.

PARKER-DIPEPPE: It will look suspicious especially on me and Lazs end

“Lazarus”:

driving with a New Jersey plated car and parking somewhere

random[.] However we’ve gotten away with it in the past too.

... Worse case we mail the poster[.] My point is if we want to
send a message it would look better if we put that poster up[.]
Mailing them yes seems effective enough, but it doesn’t send
a bigger and greater message then actually putting up a poster

at someone’s house

PARKER-DIPEPPE: Agreed

GARZA:

COMPLAINT/SHEA et al. - 13
USAO# 2018R00225

I think the locations with the most possible security concerns
could be mail targets, but those locations that look much less
secure can be visited . . . It’s not like they’re expecting us in
person. If they all receive some shit in the mail consecutively,
it'll draw the same stir. Maybe not as novel as a physical visit
with a poster on their front window, but in the ‘scare range’

just the same.

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 14 of 22

SHEA: Seems like a good plan, then. Greater security = mail, less =
poster.
“EI XIGIEIE”: One of my locations is the headquarters of the new station in

my city, so I should mail it yeah? I could add some ‘personal’

touches to make it special.

SHEA: News station? You could mail it or post it up. I'd say posting

it on public establishments is less risky than houses.

1X] 1X] XI EI)”: Got it

27. Onor about January 7, 2020, SHEA addressed the illegal nature of the
Operation and told his coconspirators via Wire: “Jf we are arrested later in connection to
the Operation, but they can’t prove we specifically did it, fedwaffen’s open sourcing of
the AW brand name gives us plausible deniability...And since we have JM’s disavowal of
fedwaffen on the website, saying we disavow illegal action, that further helps our point
that fedwaffen was behind this.” As part of its investigation into the AWD, the FBI
knows that “fedwaffen” is a reference to a faction of unknown individuals who have, in
recent months, posted AWD videos and propaganda online claiming to be AWD.
Members of the real AWD, however, have disavowed this new unsanctioned faction and
all its communications.

28. As described above, COLE has mentioned multiple times during the Wire
chats for Operation Erste Sdule that he was designing and creating the threatening posters

that the coconspirators would use. For example, SHEA told the coconspirators that

 

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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 15 of 22

COLE “is developing a number of posters that are threatening but not explicitly.” And,
over the course of multiple days, COLE stated he planned to “finish up the posters here
sometime tomorrow,” then “okay guys, I have finished the bulk of address posters,” and,
finally, that he had “sent the posters out” to coconspirators’ e-mail addresses. When
talking about the posters, COLE added that he had been “having issues with my linux
machine.” Based on my training and experience, I understand a “linux machine” to be a
personal computer using the linux operating system.

29. _ As part of this investigation, the FBI has obtained the draft posters that the
AWD considered using during Operation Erste Sdule. All of the posters contain
threatening statements and insinuations, indicating that the targets are under surveillance
and at risk from the AWD, and the draft posters contained a blank area at the bottom
designated for the coconspirators to add a victim’s address. Based on the group’s own
statements, COLE’s prior statements about media intimidation, and the nature of
Operation Erste Saule, I believe that the coconspirators intended for the following posters
to intimidate, threaten, and cause substantial emotional distress to the group’s targets.

30. One of the posters features four swastikas, a drawing of a person with press
credentials around his neck, anonymous figures behind him holding guns, and it says,
“Death to Pigs,” “Two can play at this game,” “These people have names and addresses,”

and “You have been visited by your local Nazis.”

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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 16 of 22

 

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THESE PEOPLE HAVE
NAMES AND ADDRESSES

 

31. | Another poster shows an anonymous figure wearing a mask and holding a
Molotov cocktail, and it says, “Your actions have consequences[,] our patience has its

limits” and ““You have been visited by your local Nazis.”

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 17 of 22

 

YOUR ACTIONS
HAVE CONSEQUENCES

   
   

OUR PATIENCE
HAS ITS LIMITS

 

 

 

 

32. Another features three swastikas and says, “We are watching|.] We are no
one[.] We are everyone[.] We know where you live[.] Do not fuck with us[.]” At the very

bottom of the poster are the words “You have been visited by your local Nazis.”

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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 18 of 22

 

 

 

33. At various points during the Wire chats for Operation Erste Saule, the
coconspirators described why they want to carry out the planned campaign of threats.
SHEA told coconspirators that COLE was making posters designed to be “threatening,
but not explicitly.” Later, GARZA told the group, “I believe that ifwe smash this, we can
reap the reward of a nationwide scare,” to which “Old Scratch” responded, “Damn right
bro.” GARZA also said that the Operation will “have them all wake up one morning and
find themselves terrorized by targeted propaganda.” And, among other things, COLE

said the campaign was to “intimidate” and make journalists fear the AWD: “if there isn’t

 

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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 19 of 22

any coverage[] its because they don’t want to bring more heat upon themselves, or fellow
journos. aiding to their fear of us.”

34. Onor about January 22, 2020, SHEA informed all participants of the
Operation Erste Saule chat group that the Wire chat would be ending soon. In response,
COLE stated: “Adi J can say is get a few good video clips if you can.” Finally, SHEA
reminded everyone to avoid getting caught, and suggested that if they did get caught to
plead the Fifth Amendment and remind their lawyers of the “fedwaffen” defense
described above. The Wire chat group then closed.

35. The FBI notified intended victims of the plot in advance, to the extent the
victims could be identified.

2. The Events in Washington State

36. On January 25, 2020, law enforcement conducted surveillance of SHEA
and observed him driving his vehicle to Redmond, Washington, and park in a Target
parking lot. SHEA then changed into a grey hoodie, stocking cap, and a surgical
facemask. SHEA proceeded to walk across the street into a Fred Meyer store where he
purchased a book of Santa Claus stamps and packaging tape with cash. Based on my
training, experience, and knowledge of the investigation, I believe SHEA was
obfuscating his appearance, consistent with the operational security measures mentioned
above.

37. On January 29, 2020, the FBI was contacted by a Seattle reporter who has
reported on AWD, and an employee of the Anti-Defamation League’s Pacific Northwest
Regional Office.* Both had received posters in the mail. The reporter had received the
poster that is titled, “Two Can Play At This Game,” and included the reporter’s name, his
home address, and his cell phone number. The Anti-Defamation League employee had
received a poster titled, “Your Actions Have Consequences,” and included their home

address. The envelopes in which the posters arrived were both addressed by affixing cut-

 

2 The Anti-Defamation League’s mission is to combat anti-Semitism and other forms of hatred and bigotry.
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Case 2:20-mj-O0088-MAT Document 1 Filed 02/25/20 Page 20 of 22

out, printed addresses with packaging tape, akin to the procedure SHEA described above.
The envelopes also both included Santa Claus stamps.

38. On February 5, 2020, the Seattle Police Department was contacted by a
former employee of the Anti-Defamation League’s Pacific Northwest Regional Office.
The former employee had recently returned from vacation, and located in the mail the
poster titled, “We Are Watching,” which included the former employee’s name and
address at the bottom. The envelope the poster arrived in was postmarked January 27,
2020, and was mailed with a Santa Claus stamp.

3. The Events in Florida

36. On January 24, 2020, law enforcement conducted surveillance of TAYLOR
ASHLEY Parker-Dipeppe, who agents had previously identified as being Azazel. Agents
observed PARKER-DIPEPPE leave his residence in a white 2014 Hyundai Accent.
PARKER-DIPEPPE traveled with a female and was wearing a black t-shirt, jeans, and
boots.

37. The two arrived at a Goodwill Springhill Super Store in Spring Hill,
Florida. They purchased a tan baseball hat, a hooded sweatshirt, yellow in color with
what appeared to be black lettering on the front, and a pair of black sunglasses. The two
then visited the Spring Hill Walmart. They purchased a pack of Gorilla Tape
mounting tape squares. PARKER-DIPEPPE paid for both transactions using a debit card.

38. On January 25, 2020, PARKER-DIPEPPE and the female were observed
leaving the residence above at approximately 8:30 p.m. They drove towards Tampa and
arrived at an apartment complex in Tampa. PARKER-DIPEPPE dropped off the female
and picked up a male in Saint Petersburg, Florida.

39. Agents observed PARKER-DIPEPPE and the male entering a Saint
Petersburg Walmart late in the evening. The male purchased a sweater and black

Avia pants. Both PARKER-DIPEPPE and the male exited the Walmart and then drove

back to Tampa.
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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 21 of 22

40. Agents then observed PARKER-DIPEPPE and the male drive to a Tampa
residence. The two affixed a poster to the front of the residence, immediately below a
bedroom window. The two then ran back to their vehicle and drove away. The poster
had been affixed using mounting tape squares, i.e., the same type of tape that PARKER-
DIPEPPE had purchased at Walmart.

41. The poster was the “We Are Watching” poster that is identified above. The
poster included the name and home address of a Florida news reporter who was born and
raised in Puerto Rico.

42. The reporter did not live at the residence. It appears that PARKER-
DIPEPPE and the male had the wrong address. An individual, who is black, lived at the
residence with her father and minor child. The individual saw the poster.

4. The Events in Arizona

43. On January 25, 2020, law enforcement conducted surveillance of JOHNNY
ROMAN GARZA, also known as Roman, in the Queen Creek, Arizona area. GARZA
was picked up by an individual in a maroon Ford Taurus. Shortly after midnight, the
vehicle was parked near an apartment complex in Phoenix, Arizona where a member of
the Arizona Association of Black Journalists resided. At least one of the vehicle
occupants exited the vehicle. The occupant returned to the vehicle, and the vehicle
proceeded to the residence of an editor of a local Jewish publication. Both GARZA and
the other individual were observed fleeing from the direction of the residence to the
vehicle. The two left the scene, and the individual dropped Garza off at his residence.

44, The editor found a poster titled, “Your Actions Have Consequences” that
included the editor’s name and home address at the bottom. The poster was glued to a

bedroom window, on the north side of the editor’s home.

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Case 2:20-mj-O0088-MAT Document1 Filed 02/25/20 Page 22 of 22

CONCLUSION
45. Based on the foregoing, I respectfully submit that there is probable cause
to believe that CAMERON BRANDON SHEA, KALEB J. COLE, TAYLOR ASHLEY
PARKER-DIPEPPE, and JOHNNY ROMAN GARZA did commit the crime of

conspiracy, in violation of Title 18, United States Code, Section 371.

 

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Michaet Stults, Complainant
Special Agent, FBI

 

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendants

committed the offense set forth in the Complaint.

Dated this 25 day of February, 2020.

Yoled Se

MARY ALICE THEILER
United States Magistrate Judge

 

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